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            IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                             BID PROTEST
___________________________________
                                    )
EMERGENCY PLANNING                  )
MANAGEMENT, INC.,                   )
                                    )
            Plaintiff,              )
                                    )  No. 19-1024C
     v.                             )
                                    )  (Judge Thomas C. Wheeler)
UNITED STATES,                      )
                                    )
            Defendant.              )
                                    )
___________________________________ )

                                        NOTICE

       Defendant, the United States, hereby provides notice to the Court and to the

parties to this action that pursuant to paragraph 14 of the protective order entered in FMS

Investment Corp. v. United States, Case No. 19-308 (FMS), it is waiving protection for

certain formerly protected materials in the FMS administrative record. Those materials

were incorporated, under protection, into this action. The waiver of protection in FMS

applies also to the materials as incorporated into this action. The FMS administrative

record materials, for which we are waiving protection, are: Tab 1, Tab 16, Tab 17, Tab

31, Tab 32, and Tab 33a.


                                                      Respectfully submitted,
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                                              JOSEPH H. HUNT
                                              Assistant Attorney General

                                              ROBERT E. KIRSCHMAN, JR.
                                              Director

                                              s/ Patricia M. McCarthy
                                              PATRICIA M. McCARTHY
OF COUNSEL:                                   Assistant Director

TRACEY SASSER                                 s/ David R. Pehlke
Assistant General Counsel                     DAVID R. PEHLKE
United States Department of Education         Trial Attorney
Division of Business and Administrative Law   United States Department of Justice
                                              Civil Division
                                              Commercial Litigation Branch
                                              P.O. Box 480
                                              Ben Franklin Station
                                              Washington, DC 20044
                                              Telephone: (202) 307-0252
                                              E-mail: david.r.pehlke@usdoj.gov

March 24, 2020                                Attorneys for Defendant
